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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
                              NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                   )       MDL NO. 07-1873
FORMALDEHYDE PRODUCT                  )
LIABILITY LITIGATION                  )       SECTION “N-4”
                                      )
                                      )       JUDGE ENGELHARDT
                                      )
THIS DOCUMENT IS RELATED TO           )       MAG. JUDGE ROBY
THE ADMINISTRATIVE MASTER             )
COMPLAINT                             )



                 MOTION TO WITHDRAW NEWLY ADDED DEFENDANT
             PALM HARBOR HOMES, INC.’S RULE 12(b)(2) MOTION TO DISMISS

         COMES NOW Newly Added Defendant Palm Harbor Homes, Inc. through

undersigned counsel, and moves this Honorable Court for an Order withdrawing

their previously filed Rule 12(b)(6) Motion to Dismiss, for the reasons more fully

set forth in the attached, supportive memorandum. Counsel having an interest in

this motion have been contacted and have no objection.

                                      Respectfully submitted,

                                      /s/ James K. Carroll
                                      James K. Carroll
                                      One of the Attorneys for Newly Added
                                      Defendant Palm Harbor Homes, Inc.

OF COUNSEL:
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- and -
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                         CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2008, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice
of electronic filing to all counsel of record who are CM/ECF participants.


                                      /s/ James K. Carroll




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